            Case 1:21-cr-00266-TSC Document 52 Filed 12/08/21 Page 1 of 9




                              UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA



                                             ]
UNITED STATES OF AMERICA                     ]
                                             ]       Criminal No. 21-266 (02)
       v.                                    ]
                                             ]       Judge Chutkan
STEPHANIE MILLER                             ]
                                             ]


                                SENTENCING MEMORANDUM


       Defendant Stephanie Miller, through undersigned counsel, respectfully submits the

following memorandum in support of sentencing. The defense requests that she receive

probation, concurring with the recommendation of the Probation Office.

       Ms. Miller pled guilty at the earliest opportunity to the misdemeanor count of parading,

demonstrating, or picketing in a Capitol building. 40 USC § 5104(e)(2)(G). This is one of the

least serious offenses in the U.S. Code, with no applicable Guidelines, the available option of

probation, and a maximum sentence of incarceration of 6 months.

                          I. Sentencing Factors under 18 USC § 3553

       The factors under 18 U.S.C. section 3553(a) to be considered in imposing a sentence

that is sufficient but not greater than necessary to comply with the purposes of section 3553(a)

include:

               (1) the nature and circumstances of the offense and the history and

                                                 1
            Case 1:21-cr-00266-TSC Document 52 Filed 12/08/21 Page 2 of 9




characteristics of the defendant;

               (2) the need for the sentence imposed (A) to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the offense; (B) to

afford adequate deterrence to criminal conduct; (C) to protect the public from further crimes of

the defendant; and (D) to provide the defendant with needed educational or vocational

training, medical care, or other correctional treatment in the most effective manner;

               (3) the kinds of sentences available;

               (4) the advisory guidelines range;

               (5) any pertinent policy statements issued by the Sentencing Commission;

               (6) the need to avoid unwarranted sentence disparities; and

               (7) the need to provide restitution to any victims of the offense.



       The factors below relate to the appropriate sentence of the Court given all

considerations in sentencing.

       A.      Full Acceptance of Responsibility

       By pleading guilty, Ms. Miller has fully accepted responsibility for her actions, sparing

the Court, government and witnesses the cost and time of trial and trial preparation.

       Ms. Miller has fully cooperated with the government. This further shows that she takes

responsibility for her actions and is remorseful. While she takes her responsibility seriously, at

the same time, her responsibility is limited by law to a misdemeanor, and she should be

sentenced in that context.

                                                 2
            Case 1:21-cr-00266-TSC Document 52 Filed 12/08/21 Page 3 of 9




       B.      Early Acceptance of Responsibility

       Ms. Miller pled guilty to the charge at the earliest opportunity. She did not require

additional time for the government and court by denying her involvement during the case,

requiring expensive and lengthy discovery, or preparing for motions or trial.

       Indeed, Ms. Miller gave a full statement to agents interviewing her at her initial arrest,

fully admitting her culpability, including that she entered through a window. She did this even

prior to the appointment of legal counsel.

       The government has quoted Facebook comments which Ms. Miller shortly after

January 6. In fact, in determining sentencing consideration for remorse, the Courts and

Guidelines consistently focus on the defendant’s behavior after the initiation of the criminal

case, rather than prior to arrest. For example, under the U.S. Sentencing Guidelines (U.S.S.G.),

sentencing level reductions apply to actions in pleading guilty after initiation of the case.

U.S.S. G. § 3E1.1. This makes sense, as it allows time for the defendant to reflect on the

evidence, and her own conduct. Defendants are not given a more punitive sentence for failure

to show remorse prior to being charged. Evidence of remorse after initiation of criminal

charges is key. This encourages reflection and remorse, and focuses on the defendant’s

actions after a defendant has availed herself of her constitutional right to counsel through the

initiation of the prosecution of the case.

       C.      Family History and Background

       Ms. Miller had a very difficult family history, as noted in the presentence report. Ms.

Miller faced serious hardships as a teenager, as described in the presentence report, paragraph

                                                 3
            Case 1:21-cr-00266-TSC Document 52 Filed 12/08/21 Page 4 of 9




42a, yet she persevered to make a productive life for herself and her family. She works

steadily, is an attentive mother, and has been in a stable 13-year relationship.

       D.      Mental Health

       Ms. Miller’s long term health issues are documented in the presentence report,

paragraph 51. As a direct result of her actions on January 6, 2021, she has been publicly

scorned and humiliated; she had to resign from a job she enjoyed and was essential to support

her family; and she has suffered from escalating health issues, as described in the presentence

report, paragraph 51. Despite this, and losing her full time job, she immediately applied for

other jobs, and was able to obtain a new job - though part-time - within a short period of time.

       E.      Circumstances of the Case

       Ms. Miller has absolutely no history of political extremism. In fact, the decision to go to

the District of Columbia was last minute, and for a rally called by the President of the United

States. She had never attended a political rally before January 6. She had absolutely no

expectation or desire to overthrow the government. Rather, she was supporting the President

in what he claimed were legitimate efforts to claim victory in the Presidential election. During

the rally, itself, she responded to the President’s call to “March to the Capitol...I’ll march with

you.” She joined hundreds of people marching to the Capitol.

       She fully acknowledges that she never should have illegally entered the Capitol. While

she did not personally destroy anything, she illegally played a part in an unmanageable mob.

But she was not attempting to overthrow the government at that point, either. Ms. Miller

certainly is at the lowest level of illegal activity. According to Ed Maguire, a criminologist at

                                                 4
          Case 1:21-cr-00266-TSC Document 52 Filed 12/08/21 Page 5 of 9




Arizona State University, security forces are trained to ignore yelled insults and small acts of

hostility, like pushes and thrown water bottles. And they receive training in absorbing surges in

a crowd, moving people as gently as possible, and quickly responding to pockets of violence

and isolating agitators. Benedict Carey, Making Sense of the ‘Mob’ Mentality, New York Times

(Jan. 12, 2021), available at https://www.nytimes.com/2021/01/12/science/crowds-mob-

psychology.html She did not commit any of those actions. On January 6 there was “[n]o clear

structure in the crowd and absolute chaos on the police side: no clear sense of credible incident

command, of wearing the right gear, carrying the right weapons. All of that seemed to be

missing.” Id.

       Importantly, as for persons in the mob: “With no apparent structure or strategy, the

crowd had no shared goal or common plan.” Id. Dr. James Jasper, a sociologist at City

University of New York, noted, “Crowds do not act with one irrational mind… There are many

groups, doing different things, for different reasons.” He further said, “There are great shots

from the hall of statues, where protesters stayed inside the velvet ropes, like tourists, looking

around sort of in awe.” Id. After Ms. Miller was on the Capitol grounds, she illegally went

through the gap in security to go inside the Capitol, but did exit the Capitol when directed to

do so. Ms. Millers’ actions should be penalized in relation to her own lack of planning. While

fully acknowledging that she illegally became a part of the mob, she was not there to

overthrow the government, and is not charged as such. Given her role in the events of that

day, a sentence of probation is appropriate.

       Tragically, when Ms. Miller was in a large crowd she decided to illegally follow the mob

                                                 5
            Case 1:21-cr-00266-TSC Document 52 Filed 12/08/21 Page 6 of 9




rather than make an individual decision to leave. Her accession to the mob - becoming a part

of something she would not have done individually, has subsequently caused havoc in her own

life, as described above.

       F.      The Impact of the Coronavirus Pandemic

       The national emergency – going onto 2 years - has had a severe impact on the entire

nation, but our nation’s prisons and jails have been particularly susceptible to illness and death.

Regardless of vaccination status, prisons are a cesspool for infectious disease.

       This national emergency has hindered Ms. Miller’s case, including her ability to meet in

person with counsel.

       G.      Sentencing Guidelines Range

       The parties agree that the U.S. Sentencing Guidelines do not apply to this

misdemeanor conviction, with a maximum sentence of 6 months incarceration.

       H.      Rehabilitation

       Post-arrest rehabilitation is an important consideration in sentencing under 18 USC §

3553. The U.S. Supreme Court stated in Pepper v. United States, 562 U.S. 476, (2011)(hat a

defendant’s rehabilitation can be an important factor in sentencing under section 3553 in a

number of ways: For example, evidence of rehabilitation:

               “...may also be pertinent to "the need for the sentence imposed"
               to serve the general purposes of sentencing set forth in §
               3553(a)(2) --in particular, to "afford adequate deterrence to
               criminal conduct," "protect the public from further crimes of the
               defendant," and "provide the defendant with needed educational
               or vocational training . . . or other correctional treatment in the
               most effective manner." §§ 3553(a)(2)(B)-(D); see McMannus, 496

                                                 6
          Case 1:21-cr-00266-TSC Document 52 Filed 12/08/21 Page 7 of 9




               F.3d, at 853 (Melloy, J., concurring) ("In assessing . . . deterrence,
               protection of the public, and rehabilitation, 18 U.S.C. §
               3553(a)(2)(B)(C) & (D), there would seem to be no better evidence
               than a defendant's post-incarceration conduct"). Postsentencing
               rehabilitation may also critically inform a sentencing judge's
               overarching duty under § 3553(a) to "impose a sentence
               sufficient, but not greater than necessary" to comply with the
               sentencing purposes set forth in § 3553(a)(2).”
                                                               Pepper, supra, at 491.

       Since Ms. Miller’s arrest she has done everything possible to continue to provide for her

family and have a positive impact in her community, while fully accepting responsibility for her

actions on January 6.

       Attached is a letter from a past employer. The employer has been impressed with her

work in the past, and seen the impact of this case on Ms. Miller. She plans to re-hire Ms. Miller

in a supervisory position. Exhibit A. Also attached are letters of support from family members.

Exhibits B, C and D. Importantly, Ms. Miller has written a letter to the court fully accepting

responsibility for her actions, while determined to make more responsible decisions in the

future. Exhibit E.

               I.       Just Punishment

               Particularly during this pandemic, it is best for the community, as well as

Ms.Miller, that she continue her rehabilitation in the community. She has a conviction which,

in and of itself, is quite punitive. The conviction affects possible job opportunities, and will

remain with her for the rest of her life. But probation will allow her to continue to work, show

remorse and to help support her family - both financially and emotionally.




                                                  7
          Case 1:21-cr-00266-TSC Document 52 Filed 12/08/21 Page 8 of 9




       The Millers were arrested for this case at their home in the early morning, while Ms.

Miller’s 13-year old son was still asleep in bed. She was arrested by multiple officers, with guns

pointed at her. As his mother, she had to apologize to her son for her actions. She and

Brandon Miller made that apology together.

       Comparative sentences are addressed in Brandon Miller’s sentencing memorandum,

ECF 51, pp 6-7. Given sentences imposed in comparative cases, a sentence of probation is

appropriate here.

       Probation involves significant restraints on a defendant’s liberty. Orders can confine

defendants to a particular community, house, and job at the sufferance of the probation

officer. Jones v. Cunningham, 371 US 236, 242 (1963); see also Anderson v. Corall, 263 U. S.

193, 196 (1923) (“While [parole] is an amelioration of punishment, it is in legal effect

imprisonment.”); von Hentig, Degrees of Parole Violation and Graded Remedial Measures, 33 J.

Crim. L. & Criminology 363 (1943).

       Defendants must periodically report to the probation officer, permit the officer to visit

their homes and jobs at any time, and follow the officer’s advice. Jones at 242. Defendants are

admonished to keep good company and good hours, work regularly, keep away from

undesirable places, and live clean, honest, and temperate lives. Ibid. Not only must they

faithfully obey these restrictions and conditions, but they also live in constant fear that a single

deviation, however slight, might result in being sent to prison. Ibid.




                                                 8
          Case 1:21-cr-00266-TSC Document 52 Filed 12/08/21 Page 9 of 9




       Defendants might be rearrested any time the probation officer only believes they have

violated a term or condition of probation. Ibid. They might have to serve all of the time that

was suspended with few, if any, of the procedural safeguards that normally must be provided

to those charged with crime. Ibid. Probation significantly restrains defendants’ liberty to do

the things that free people in this country are entitled to do. Ibid.

                                          II. Conclusion

       “It has been uniform and constant in the federal judicial tradition for the sentencing

judge to consider every convicted person as an individual and every case as a unique study in

the human failings that sometimes mitigate, sometimes magnify, the crime and the

punishment to ensue.” Gall v. United States, 552 U.S. 38,52 (2007) citing Koon v. United

States, 518 U.S. 81, 113 (1996).

       Ms. Miller requests probation in this case, so that she can continue to work, provide

financial and emotional support to her family, and be a productive member of society.

Particularly given her early acceptance of responsibility, and the unique circumstances of the

case, there is no reason to believe that she would commit this offense in the future. A sentence

of probation is sufficient in this case to protect the public, afford just punishment, and provide

for rehabilitation.

                               Respectfully submitted,

                                    /s/
                               Joanne D. Slaight, #332866
                               400 7th Street, N.W., Suite 206
                               Washington, DC 20004
                               Phone (202) 256-8969
                               Email: jslaight@att.net
                                                 9
